     Case 5:20-cv-00768-TJH-PVC Document 1008 Filed 03/01/21 Page 1 of 1 Page ID
                                     #:24058


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 8                  United States District Court
 9                  Central District of California
10                       Western Division
11

12    KELVIN HERNANDEZ ROMAN, et al.,                      ED CV 20-00768 TJH
13                      Petitioners-Plaintiffs,
14             v.                                                Order
15    CHAD T. WOLF, et al.,
16                      Respondents-Defendants.
17

18

19         The Court has considered the Government’s motion to exclude Petitioner Orlando
20   Arellano Garrido from release [dkt # 820], together with the moving and opposing
21   papers.
22

23         It is Ordered that the motion be, and hereby is, Granted.
24

25   Date: March 1, 2021
26                                                __________________________________
27                                                       Terry J. Hatter, Jr.
                                                  Senior United States District Judge
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